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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO

 UNITED STATES OF AMERICA,                       )
                                                 )
                 Plaintiff,                      )
                                                 )
        vs.                                      )                   Cr. No. 17-2558 MV
                                                 )
 ARTHUR PERRAULT,                                )
                                                 )
                 Defendant.                      )
                                                 )

                        UNITED STATES’ PROPOSED EXHIBIT LIST

       The United States respectfully submits this Proposed Exhibit List. The United States

reserves the right to amend this list as necessary before and during trial. The following exhibits

may be offered as evidence during the United States’ case-in-chief include:

 Ex. No.      Witness           Date      Obj.       Adm.   Description of Evidence

 1                                                          Photographs taken at St. Bernadette’s
                                                            Catholic Church
 2                                                          Photographs taken at Kirtland Air
                                                            Force Base
 3                                                          Photographs taken at Santa Fe
                                                            National Cemetery
 4                                                          Photographs from St. Pius High
                                                            School
 5                                                          Photographs of Defendant

 6                                                          Photographs of John Doe 1

 7                                                          Photographs of John Doe 2

 8                                                          Photographs of John Doe 3

 9                                                          Photographs of John Doe 4

 10                                                         Photographs of John Doe 5

 11                                                         Photographs of John Doe 6
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12                                         Photographs of John Doe 7

13                                         Photographs of John Doe 8

14                                         Photographs of John Doe 9

15                                         Recordings of Statements by
                                           Defendant
16                                         Transcripts of Recordings of
                                           Statements of Defendant
17                                         Letter from Defendant to mother of
                                           John Doe 3
18                                         Written statement of John Doe 3

19                                         Letter from Defendant to King of
                                           Morocco
20                                         Letter from Defendant to New
                                           Mexico judge
21                                         St. Bernadette’s funeral log

22                                         Records of Archdiocese of Santa Fe

23                                         Air Force records

24                                         Air National Guard records

25                                         Map of Kirtland Air Force Base

26                                         Map of Santa Fe National Cemetery

27                                         Documents in support of testimony of
                                           Dr. Gail Goodman


                                      Respectfully submitted,


                                      JOHN C. ANDERSON
                                      Acting United States Attorney

                                      /s
                                      SEAN J. SULLIVAN
                                      HOLLAND S. KASTRIN
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I hereby certify that a copy of this
motion was delivered via CM/ECF
to counsel for defendants.
 filed electronically
Sean J. Sullivan




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